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                            UM TED STATES DISTRIG COURT
                            SOUTM RN DISTRICT OF FLORIDA

                        cAsExo. 23-60l97-CR -SM ITH /V A LLE
                                   18U.S.C.j371
                                   18U.S.C.j982(a)(2)(A)
                                                                    FILED BY                  D.C.
  UNITED STATES OF AM ERICA
                                                                          02T ûs 2223
  VS.
                                                                           ANGELAE.NOBLE
                                                                          CLERKU S.DIS'LC1:
                                                                        s.o.ogFl
                                                                               -k.-FmtAuo.
  KEITH M AHI,O N DU NIG EY ,

                D efendant.


                                        N ORM ATION

         TheU nited SvtesAttorney chargesthat:

                                 G ENER AL ALLEG ATIO NS

         Ata1ltim esrelevantto this Inform ation:

                               The ,j'- //B usintssAdm inùtration

                'l'he United Sltes SmallBusiness Adminiskation (tISBA''I was an executive
  branch agency ofthe United Statesgovernm entthatprovided supportto entrepreneurs and sm all

  businesses. The m ission ofthe SBA w as to m aintain and strengthen the nation's econom y by '

  enabling the establisbmentand viability ofsmallbusinessesand by assisting in the economic

  recovery ofcom m unitiesafterdisa ters.
         2.     A s partof this effort,the SBA enabled and provided loans through bsnks,credit

  lm ions,and otherlenders. These lonnqhad governm ent-backed guarantees.

                               TheJkyrAee: Protectlon Program
         3.     'IheCoronavirusAid,RelietlaùdEconomicSecurityCCARES''IActwmsafederal
  1aw enacted in or around M arch 2020,designed to provide em ergency finnncialassistance to the
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 millionsofAm ericans who were suffering from the econom ic effectscaused by the COV1D-19

 pandem ic. One source of relief that the CA RES Act pzovided was the Paycheck Protection

 Progrnm (tTPP''),which authorized forgivableloansto smallbusinessesforjob retention and
 certain otherexpenses.

        4.      TheSBA promulgatedregulationsconcerning eligibility foraPPP loan.To obtain

 aPPP loan,aqualifyingbusinesswasrequired to subm itaPPP loan application,which wassigned

 by an authorized representative ofthe business. The PPP loan application required the business

 (through its authorized representative) to acknowledge the program rules and make certain
 affirm ative certifications to be eligible to obtain the PPP 10= ,including thatthe business w as in

 operation on February 15,2020,and eitherhad employeesforwhom itpaid salaries and payroll

 taxesorpaid independentcontractors.Paym entsto independentcontractorsaretypically reported

 to thelntemalRevenue Service(ût1RS'')on aCTOI'I'
                                                I'
                                                 I1099-MlSC.'' ln thePPP loan application
 (SBA Fonn2483),thesmallbusiness(throughitsauthorizedrepresentative)wasrequiredtostate,
 among otherthings,its:(a)average monthly payrollexpenses;and (b)numberofemployees.
 These figures were used to calculate the am ountof money the smallbusiness was eligible to

 receive tmderthe PPP.

                ln addition, a business applying for a PPP loan was required to provide

 docum entation show ing its payroll expenses. This payroll inform ation w as m aterial to the

 application because,pursuantto statutory requirem entsand im plem enting regulations,the am otmt

 ofthe loan thattypically could be approved w as a function of the applicant's historicalpayroll

 costs,consisting of com pensation to its em ployees whose principal place of residence was the

 United States,subjectto certain exclusions.
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               Individuals who operated a business under a ççsole proprietorship'' business

 stnzcture w ere eligible fora PPP 10= . To qualify for such a PPP loan,individualshad to report

 and docum ent their incom e and expenses from the sole proprietorship.Sole proprietorships

 typically reporttheirincom eand expensesyearly to the 1RS on a 11F'01'm 1040,Schedule C.'' As

 with otherPPP loans,this inform ation and supporting doolm entation wasused to calculate the

 am ountofmoney the individualwasentitled to receiveunderthe PPP. The maximum PPP loan

 am ountfora soleproprietorwith no employeeswas$20,833.
               PPP loan applicationsw ere processed by participating lenders and third-party 1oan

 processors. Ifa PPP 1oan application wasapproved,theparticipating lenderfundedthePPP loan

 using itsown monies. W hile itwastheparticipating lenderthatissuedthePPP loan,theloan was

 100% guaranteed by the SBA . Data from the application, including infonnation about the

 borrower,thetotalnm ountoftheloan,andthelistednumberofem ployees,wastransm itted bythe

 lenderto the SBA in the course ofprocessing the loan.

                After the lender funded the PPP loan to the borrower, the lender submitted

 disbursementdetailsintotheSBA E--
                                 l-ran system ,with serverslocatedin Sterling,VA .TheSBA 'S

 D enver Finance Center, located in D enver, Colorado, created paym ent files and authorized

 paym ents ofthe PPP processing fee to the lendertllrough the FinancialM anagem entSystem to

 theTreasury.Theprimary serverfortheFinancialM anagementSystem wasin Sterling,VA.The

 PPP processing fee varied depending on the am ountofthe loan.Once created,the paym entfiles

 w ere then transm itted via w ire to the U .S.Treasury disbursing office in K ansas City,M issouri,

 which,in tlm z,sent instructions for paym entof funds to the FederalResel've Bank Autom ated

 C learing H ouse processing site in EastR utherford,N ew Jersey.
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                TheproceedsofaPPP loan could beused only forcertain specified item s,such as

payrollcosts,costs related to the continuation ofgroup health care benefits,orm ortgage interest

payments for the business. The proceedsof a PPP loan were notperm itted to be used by the

 borrowerstopurchaseconsumergoods,automobiles,personalresidences,clothing,orjewelly,to
pay theborrower'spersonalfederalincom etaxes,orto fund theborrower'sordinary day-to-day

 living expensesunrelated to the specified authorized expenses.

                ThePPP allowed the interestand pzincipalon thePPP loan to beentirely forgiven

 ifthe borrowerutilized 60% ofthe loan in the 24 weekspost-disbursementtoward payrollcosts

 andutilizedtheremaining40% on qualitiedexpenseitems(e.g.,mortgage,rent,andutilities).
                Applying forPPP loan forgivenesswasaseparateprocessthatrequired additional

 affirm ations thatthe applicantsatisfied the eligibility forPPP loan forgiveness. W hateverportion

 ofthe PPP loan wasnotforgiven w asserviced as a loan.

                          The E conom ic fa.jl
                                             gr.pDisasterLoanProgram
        12.     A nother related response to the COV 1D -19 outbreak w as an expansion of an

 existing disaster-related program administered by the SBA,theEconomiclnjury DisasterLoan
 (çtElDL'') program,to provide loans up to $150,000,and additionaladvance ftmds ofup to
 $10,000,forsmallbusinessesexperiencing atemporaly lossofrevenuedue to thepandemic.

                Toqualify foran EIDL authorizedby theCARES Act,applicantshadtobe:(1)a
 business, cooperative, or agzicultural enterprise w ith 500 or few er em ployees, a faith-based

 organization, a private non-profh, a sole proprietorship or an independent contractor; (2)
 physically loeated in theUnited Statesoradesignatedterritory;and (3)have sufferedworking
 capitallosses due to the C OV ID -19 pandem ic.




                                                   4
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               EIDL loan am ountswere based off a zough calculation of the applicant's net

 revenuesoverthesix monthspriorto January31,2020. Therough calculation took thedifference

 between the previousannualgross revenues and the previous annualcostofgoods sold. That

 numberwasdivided by two to determinetheapproved loan amount,up to $150,000.
                EID L advance am ounts w ere based off the business's reported num ber of

 employeesasofJanuary 31,2020. The SBA provided $1,000 in EIDL advance fundsforeach

 employee on theapplicant'spayroll,up to themaximlzm amountof$10,000.
        16.     EID L proceeds could havebeen used to pay tixed debts,payroll,accountspayable,

 and otherbillsofthebusinessthatcould havebeen paid had the disasternotoccurred;however,

 such loan proceeds were notintended to replace lostsales orprofits,or for the expansion ofa

 business.

                U nlike othertypes ofSB A -guaranteed loans,EIDL fundsw ere issued directly from

 the United States Treasury,and applicants applied for EID L funds directly tllrough the SBA via

 an onlineportaland application. TheEIDL application process,which also used certain outside

 contractors for system support,collected inform ation concem ing the business and the business

 owner,including infonnation about the gross revenues and costof goods sold for the business

 priorto January 31,2020.Applicants electronically certified thatthe information provided was

 true and accurate and w ere w arned thatany false statem entorm isrepresentations to the SBA ,or

 any m isapplication ofloan proceeds m ay resultin sanctions,including crim inalpenalties.

        18.     EIDL applicationsw ere received in and processed using com puter servers located

 in the states ofIow a,V irginia,and W ashington. EID L disblzrsem entpaym entsw ere initiated by

 the SBA using com puter sezvers located in the state of Colorado,w hich transm itted the paym ent

 inform ation to the Treasm y using com puter servers located in the state ofV irginia.
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                                TheDefendant& Related Entiw

               K EIT H M A H LO N D UN K L EY w as a residentofBrow ard County,Florida.

        20.    GlobalGroup Alliances,LLC wasaregistered Floridabusinessthatwascreated in

 or aboutJanualy 2020.KEITH M AHLON DUNK LEY wasthe Chief Executive Officer and

 registered agentofG lobalGroup A lliances,LLC.

                             R elevantLender and L oan Processor

               Lender 1 wasan approved lenderofPPP loansand wasbased in FortLee,New

 Jersey.

        22.    Loan Processor 1 was a third-party loan processor, based in Redw ood City,

 California,thatprocessed PPP loan applicationsforLender 1.

                                            C ount 1
                              C onspiracy to Com m itW ire Fraud
                                        (18U.S.C.j371)
               The allegations contained in paragraphs 1 through 22 of the GeneralA llegations

 section ofthislnform ation are re-alleged and incorporated by refereneeasthough fully setforth

 herein.

        24.    From in oraround July 2020,and continuing through in oraround January 2022,in

 Broward County,Florida,in the Southern DistlictofFlorida,and elsewhere,the defendant,

                                K EITH M A H L ON D U NK LEY,

 didwillfully,thatis,withtheintenttofurthertheobjectoftheconspiracy,andknowinglycombine,
 conspire,confederate,and agree w ith anotherunknown to the U nited States A ttozney,to com m it

 an offense againstthe U nited States,thatis,to know ingly,and w ith the intentto defraud,devise,

 and intend to devise,a sohem e and artifice to defraud,and to obtain m oney and property by m eans

 of m aterially false and fraudulentpretenses,representations,and promises,knowing that the


                                                 6
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 pretenses,representations,andpromiseswerefalseandfraudulentwhenm ade,and,forthepum ose

 ofexecuting the schem eand artifice,did know ingly transm itand causeto be transm itted,by m eans

 of w ire com m tm ication in interstate com m erce, certain w ritings, signs, signals, pictures and

 sotmds,in violation ofTitle 18,United StatesCode,Section 1343.

                              PURPOSE O F THE CONSPIR ACY

                ltw as the pum ose of the conspiracy for the defendant and his co-conspirator to

 unjustly enrichthemselvesby,amongotherthings:(a)submittingand causingthesubmission of
 false and fraudulentapplicationsforCO V ID-19 relieffunds,including applicationsforaPPP loan

 and an EIDL;and (b)offering,paying,and receivingpaymentsin return forthe submission of
 false and fraudulentloan applications.

                      M A NN ER AN D M EA N S O F TH E CO N SPIM CY

        Them annerandmeansbywhich thedefendantand hisco-conspiratorsoughtto accom plish

 the purpose ofthe conspiracy included,am ong others,the follow ing:

        26.     K EITH M AH LO N DU N K I,EY and his co-conspirator subm itted and caused to

 be subm itted a fraudulent PPP loan application under the nam e of K EITH M A H L O N

 DUNK LEY,as a sole proprietor,using the defendant's Social Security Number and e-m ail

 address,via interstate w ire com m unications.

                K EITH M AH LO N D U NK LEY subm itted and caused the subm ission offalse and

 fraudulent inform ation and docum entation in support of the PPP loan application to Loan

 Pzocessor1,viainterstatewirecomm unications,includingafalsifiedIntem alRevenueServicetax

 fonn ScheduleC forGlobalGroup Alliances,LLC and falseand fraudulentinform ation astothe

 borrow er's grossincom e and m ontllly payroll,am ong otherthings.

                A sa resultofthe falseand fraudulentPPP loan application subm itled aspartofthis
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 schem e,on oraboutAugust4,2020,Lender1approved PPP loan num ber2151008204 forK EITH

 M AH LO N D U NK I,EY ,and disbursed thePPP loan proceeds,via interstate w ire com m unication,

 in the approximate am ountof$18,540 to K EITH M AHLON DUNKLEY atJpM organ Chase

 Bank accountnum berending in 5715in thenam eofKEITH M M ILON DUNIQLEY.

               On oraboutAugust4,2020,K EITH M AH LON DUNKLEY also subm itted and

 caused the submission ofan EIDL application to the SBA on behalfofGlobalGroup Alliances,

 LLC,which contained materially false and fraudulentinformation asto (1)thebusiness'sgross
 revenuesforthe12monthspriortoJanuary 3l,2020,
                                             .and(2)thebusiness'snumberofemployees
 asofJanuary 31,2020.

               A s a resultof the false and f'
                                             raudulentEID L application subm itted as pal'tofthis

 schem e,on oraboutAugust7,2020,the SBA approved EIDL nllmber3532658209 for Global

 Group Alliances,LLC and disbursed theloan proceeds,viainterstatewirecomm unication,in the

 approxim ateamountof$17,500to TD Bnnkaccountnumberendingin 0161in thenmneofGlobal
 Group Alliances,LLC,which wascontrolledby K EITH M AHLON DUNK IUEY .

               K EITH M A H L O N DU N K I,EY used the ill-gotten loan proceeds to enrich

 himselfand notforqualified expensestmderthePPP and theEIDL program .

                                        O VE RT A C TS

        ln furtherance of the conspiracy, and to accom plish its purpose,at least one of the co-

 conspiratorscom mitted and caused to be comm itted,in Broward County,Florida,the Southem

 DistrictofFlorida,and elsew here,atleastone ofthe following overtacts,am ong others:

        32.    On July 31,2020,K EITH M AH LO N D UN K LEY subm itted and caused to be

 subm itted a PPP loan application from the Southern D istrictofFlorida through Loan Processor 1

 using interstatewirecomm unications,which resulted in PPP loan number2151008204.
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               On or about August 4,2020,KEITH M AH LON DUNK LEY subm itted and

 caused the submission ofan EIDL application from the Southel'n DistrictofFloridato the SBA,

 via interstate wire comm unications,on behalfofGlobalGroup Alliances,LLC,which contained

 materially false and fraudulentinformation as to (1)the business'sgrossrevenuesforthe 12
 monthspriorto Jatluary 31,2020,
                               'and(2)thebusiness'snumberofemployeesasofJanualy 31,
 2020,using interstatewire comm tmications,which resulted in EIDL number3532658209.

        A llin violation ofTitle 18,United StatesCode,Section 371.

                               FO R FEITU RE A LLEG A TIO N S

               The allegations contained in this Infonnation are hereby re-alleged and by this

 reference fully incorporated herein forthe purpose of alleging forfeiture to the U nited States of

 Am erica of certain property in w hich the defendant,K EIT H M AH L O N D IJN K I,E Y, has an

 interest.

        2.     Upon conviction of a violation of Title 18, United States Code, Section 371,

 specifically,a conspiracy to comm itaviolation ofTitle 18,United StatesCode,Section 1343,as

 alleged in this Inform ation, the defendant shall forfeit to the United States any property

 constituting,orderived from ,proceedsobtained,directly orindirectly,asthe resultofsuch offense,

 plzrsuanttoTitle18,UnitedStatesCode,Section982(a)(2)(A).
               Ifany ofthepropertysubjecttoforfeittlre,asaresultofany actoromissionofthe
 defendant:

                cazm otbe located upon the exercise ofdue diligence;

               hasbeen transferred or sold to,ordeposited w ith,a third party;

               hasbeenplaced beyond thejurisdiction ofthecourt;
        d.      hasbeen substantially dim inished in value;or
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               has been com mingled with other property which carm ot be divided without

                diftk ulty,

 the United States shallbe entitled to the forfeiture of substitute property underthe provisions of

 Title21,UnitedStatesCode,Section8534.19.
         AllpursuanttoTitle 18,UnitedStatesCode,Section982(a)(2)(A),andtheproceduresset
 forth atTitle 21,U nited StatesCode,Section 853,asincorporated by Title 18,United StatesCode,

 Section 982(b)(1).

   -
       /n-     '                     *>
 M A RKEN    LA PO INTE
 UN ITED STA TES A TTORN EY


 TREV O     .JONES
 A SSISTA N T UN ITED STA TES A TTO RN EY




                                                 10
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                            UNITED STATES DISTRICT C O URT
                            SO UTH ERN D ISTRIC T O F FLOR ID A

UN ITED STATES O F AM ERICA                         CA SE N O .:

V.
                                                    CERTIFICA TE OF TR IAL A TTO RNEY
KEITH M AHLON DUNKLEY,
                                        /           Superseding Case lnform ation:
                 Defendant.                         New Defendantts)(YesorNo)
CourtDivision(selectone)                            N um berofN ew D efendants
   EEIM iami r Key W est L FTP                      Totalnum berofcounts
   E FTL        L W PB

1do hereby certify that:
  1.    lhave carefully considered the allegations ofthe indictm ent,the numberofdefendants,the num berofprobable
        witnessesandthelejalcomglexitiesofthelndictment/lnformationattachedhereto.
        1am awarethatthe lnformatlon supplied on thisstatementwillberelied upon by theJudgesofthisCourtin setting
        theircalendarsandschedulingcriminaltrialsunderthemandateoftheSpeedyTrialAct,Title28U.S.C.j3161.
        lnterpreter:(YesorNo)No
        Listlanguageand/ordialect:

        Thiscase willtake 0 daysforthepartiestotry.

        Please check appropriate category and type ofoffense listed below :
        (Check onlyone)                     (Check onlyone)
        I l 0to 5 days                      ElPetty
        11 r 6to 10 days                    D M inor
        IIl L 11to20 days                   L M isdem eanor
        IV L 21to 60 days                   S Felony
        v n 61daysandover
        HasthiscasebeenpreviouslyfiledinthisDistrictCourt?(YesorNo)NO
        lfyes,Judge                                 Case N o.
        Hasacomplaintbeenfiledinthismatter?(YesorNo)No
        Ifyes,M agistrate CaseN o.
  8. DoesthiscaserelatetoapreviouslyfiledmatterinthisDistrictCourt?(YesorNo)N0
        Ifyes,Judge                                 CaseN o.
  9. Defendantts)infederalcustodyasof
  10. Defendantts)instatecustodyasof
  ll. Rule 20 from the               D istrictof
  12. Isthisapotentialdeath penalty case?(YesorNo)N o
  13. Doesthiscase originate from a m atterpending in the Northern Region oftheU .S.Attorney'sOffice
        priortoAugust8,2014(Mag.JudgeShaniekMaynard?(YesorNo)No
        Doesthiscase originate from a m atterpending in the CentralRegion ofthe U .S.Attorney's Office
        priortoOctober3,2019(M ag.JudgeJaredStrauss?(YesorNo)No
        Didthism atterinvolvetheparticipation oforconsultationwithnow M agistrateJudgeEduardo1.Sanchez
        during histenure atthe U.S.A ttorney'sOffice,which concluded on January 22,2023:
                                                                                       /NO


                                                     By:
                                                              Trevor .Jones
                                                              AssistantUnit tatesA ttorney
                                                              FL BarN o.   0092793
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                          U N ITED STATE S D ISTR ICT C O U RT
                          SO U TH ERN D ISTR ICT OF FL O RID A

                                      PEN A LTY SHEET

 D efendant'sN am e:KEITH M A H LON D UN K LEY



 Count#:1

 Conspiracy to Com mitW ireFraudaTitle 18sUnited StatesCodepSection 371


 * M ax.T erm oflm prisonm ent:5 years
 *M andatoryM in.Term oflmprisonment(ifapplicable):n/a
 * M ax.Supervised R elease:3 years
 *M ax.Fine:$250,000




   *Refers only to possibleterm ofincarceration,supervised releaseand fines. Itdoesnotindude
         restitution,specialassessm ents,paroleterm s,or forfeituresthatm ay beapplicable.
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AO455(Rev,01/09)Waiverofanlndi
                             ctment                                                                               C.
                               U NITED STATESD ISTRICT COURT
                                                     forthe                                    ogl'gç 2223
                                           southernDistrictofFlorida                          AckutlsExosu:'

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                                                                                                         cou
                                                                                                         .
                                                                                                           cmo.
              United StatesofAmerica
                          v.                                  caseNo. 23-60197-CR-SM lTH /V ALLE
            KEITH MAHLON DUNKLEY'



                                       W AW ER OF AN INDICTM ENT

       IunderstandthatIhavebeen accused ofoneormoreoffensespunishableby imprisonmentformorethan one
year. Iwasadvisedin opencourtofmy rightsandthenatureoftheproposed chargesagainstme.
         Afterreceiving thisadvice,Iwaivemy rightto prosccution by indictm entandconsentto prosecution by
inform ation.




                                                                               De#ndant'
                                                                                       sJfpl
                                                                                           tz/zfre


                                                                          Signatureofde#ndant'
                                                                                             sattorney


                                                                                     ./#
                                                                         Printednametl  e.
                                                                                         #afJn/'
                                                                                               sattorney


                                                                                 Judge'
                                                                                      ssignature


                                                                            Judge'
                                                                                 sprinted nameandtitle
